EXHIBIT B
September 28, 2020                                            Direct Phone Number: (650) 469-3750
                                                                Direct Fax Number: (650) 472-8961
                                                                              pp@consensuslaw.io



Via email to: sdhibbard@jonesday.com

Stephen D. Hibbard, Esq.
Partner
Jones Day
555 California Street
26th Floor
San Francisco, California 94104

Re:   Numerous False Material Representations in Your Motion To Dismiss Amounting
To Fraud On The Court


Steve,

This letter hereby confirms our telephonic meet and confer at 9AM PDT on September 30, 2020.
Please have your Motion to Dismiss (“Motion”) and Second Amended Complaint (“SAC”)
handy to go through all your statements and corresponding SAC allegations in detail one by one.

Your Motion is laced with fraud on the Court. Being unable to defend this lawsuit on the merits,
you decided to utilize a tactic of last resort – blatantly falsify allegations of the SAC for Judge
Orrick. Below are just three examples of blatant falsehoods that you perpetuated in your Motion.
Your egregious conduct constitutes willful and deliberate fraud and deceit on the Court and
shamelessly violates Fed. Rule Civ. Proc. 11.

For example, on p. 3 of the Motion, you represent to Judge Orrick that “Plaintiffs do not allege
that HDR engaged in any conduct in the United States at all.” This representation is blatantly
false and constitutes willful and deliberate fraud on the Court. Please refer to SAC ¶¶ 2, 5, 16,
17, 21, 25, 44, 46, 48, 57, 60, 61, 64, 65, 67, 68, 71, 73-81, 185, 186, 203, 206, 207, 303, 326,
344 and 368, which allege overwhelming facts of HDR’s extensive conduct in the United States.
Moreover, the table below summarizing allegations of the SAC clearly shows that all three
components of the alleged market manipulation were all perpetrated by HDR in the United
States:




                                                                                           Consensus Law
                                                                                    Cryptocurrency Attorneys
                                                                                      5245 Av. Isla Verde #302
                                                                                           Carolina, PR, 00979
                                                                                     Phone: +1 (650) 469-3750
                                                                                        Fax: +1 (650) 472-8961
                                                                                         www.consensuslaw.io
Stephen D. Hibbard, Esq.
September 28, 2020
Page 2

Manipulation Manipulative Conduct Involved               Place of Manipulative            SAC ¶¶
Component                                                Conduct
Helper       Deliberately moving BitMEX index            BitStamp, Coinbase Pro and       SAC ¶¶
Component    price by placing large market orders        Kraken, all located in the       109,
             with maximum slippage from helper           United States                    203,
             accounts on three illiquid exchanges                                         Ex. 4
Winner       Capturing multiplied (due to                BitMEX, having the majority      SAC ¶¶
Component    disparity in liquidity) manipulation        of cloud service providers,      59, 74,
             profits caused by the deliberate            employees, engineering and       205, 206
             index price move using winner               software development team
             account(s) on BitMEX.                       and the nerve center of
                                                         operations in this District
Facilitation     Freezing BitMEX servers and             This District, where all three   SAC ¶¶
Component        accepting orders on only one side of    site reliability engineers of    74, 75,
                 the market to exacerbate the price      BitMEX, who are responsible      185, 186
                 moves during manipulation times         for the trading platform
                                                         uptime and server freezes, are
                                                         located

Thus, your representation was a willful and deliberate falsehood amounting to fraud on the
Court.

As another example, on pp. 3-4 of the Motion, you further represent to Judge Orrick that
“Plaintiffs do not allege how or when Defendants themselves purportedly engaged in any of
those activities… In other words, Plaintiffs seek to hold Defendants liable because other
individuals or entities allegedly have used techniques to manipulate the price of cryptocurrencies
listed on other exchanges, which in turn impacts trading activity undertaken by other individuals
or entities on BitMEX.” This is again a patently false statement. Please refer to SAC ¶¶ 3, 113
(“[t]he illegal stock price manipulation technique alleged by SEC is identical to the techniques
alleged hereinabove and used as well as aided and abetted by Defendants on a daily basis during
the time period starting on January 1, 2017 and until now (‘Relevant Period’) to manipulate the
prices of cryptocurrencies”), 122, 123, 124, 125, 183, 185, 186, 203, 206, 214 (“Plaintiffs BMA,
Kolchin and Dubinin are informed and believe and thereon allege that Defendants themselves
launder funds”… “In addition, the knowing, willful and deliberate effective transmissions of the
winnings from market manipulation from the first helper account to the second winner account
perpetrated by Defendants on behalf of themselves and/or on behalf of other BitMEX users as
described herein, with full knowledge of the nature and purpose of the funds involved in the
transfer, constitutes unlicensed money transmission in violation of 18 U.S.C. § 1960(a), which is
also a RICO predicate offense”), 238, 243, 244, 250, 251, 260-263, 275-277, 281, 282, 295-300,
319-323, 337-341 and 360-364, which contain overwhelming and very detailed allegations of
facts establishing how Defendants themselves manipulated cryptocuurrency markets on a daily
basis.
Stephen D. Hibbard, Esq.
September 28, 2020
Page 3

For example, SAC ¶ 125 explicitly states: “Defendants and each of them have thus manipulated
the price of bitcoin and ether, harming Plaintiff and other traders who had their positions
liquidated, in violation of the Commodity Exchanges Act, 7 U.S.C. §§ 9, 25 (2012).”

As a further example, SAC ¶ 203 states: “For example, Ex. 3, p. 4 describes how a helper
account on BitStamp was used on May 17, 2019 to effectively transmit 80 times of the amount
money spent from that helper account to a winner account on BitMEX. See also Ex. 2, pp. 2-3
describing a similar scheme that used helper accounts on BitStamp to artificially induce massive
liquidations of traders, like Plaintiffs, on Bitmex on July 15, 2019, resulting in effective
transmission of manipulation winnings from helper accounts on BitStamp to winner accounts on
BitMEX. Plaintiffs BMA, Kolchin and Dubinin are informed and believe and thereon allege that
Defendants use this unlawful scheme on a regular basis using helper accounts on United States
based cryptocurrency exchanges BitStamp, Kraken and Coinbase.”

As a further example, SAC ¶ 205 explicitly states: “For example, Plaintiffs BMA, Kolchin and
Dubinin were financially injured when Defendants effectively transmitted funds, which was
perpetrated willfully and deliberately by Defendants through their commercial website
BitMEX.com, and with full knowledge of the nature and purpose of the funds involved in the
transfer, in violation of 18 U.S.C. § 1960(a), 18 U.S.C. § 1957(a) and 18 U.S.C. § 1956(a) and
18 U.S.C. § 2314 between helper and winner accounts by way of using the helper accounts to
perpetrate manipulation by pumping or dumping the cryptocurrency market, thereby causing a
liquidation cascade affecting Plaintiffs’ accounts, and using the winner accounts to capture the
financial benefits of the aforesaid manipulation. As the result of the actions of the Defendants
alleged in this Paragraph, the positions of Plaintiffs’ were liquidated.”

As a further example, SAC ¶ 207 explicitly states: “Moreover, the aforesaid illegal acts of
effectively transmitting market manipulation winnings from helper accounts to winner accounts,
which resulted in the injury to Plaintiffs, were all perpetrated by Defendants through the same
commercial website BitMEX.com, which is accessible and is extensively used, via widely
available and inexpensive VPN software, by users located in the United States and this District.”

As yet further example, SAC ¶¶ 260-261 provide: “Plaintiffs BMA, Kolchin and Dubinin are
informed and believe and thereon allege that, during the Relevant Period, Defendants, and each
of them, used wire signals to transmit various electronic orders to multiple cryptocurrency
exchanges for the specific purpose of misleading traders and investors as to the cryptocurrency
market’s natural forces of supply and demand and for manipulating prices of spot
cryptocurrencies and cryptocurrency derivatives. … Plaintiffs BMA, Kolchin and Dubinin are
informed and believe and thereon allege that the alleged fraudulent electronic wire transmissions
were performed by Defendants on a daily basis during the Relevant Period and were carried out
from Defendants’ offices located in San Francisco, California and Hong Kong Special
Administrative Region of the People’s Republic of China and to respective computer servers of
Amazon EKS as well as computer serves of multiple other cryptocurrency exchanges that
Stephen D. Hibbard, Esq.
September 28, 2020
Page 4
Defendants used to perpetrate their manipulative and fraudulent scheme alleged hereinabove.
Plaintiffs BMA, Kolchin and Dubinin are informed and believe and thereon allege that each of
Defendants HDR, ABS, Hayes, Delo and Reed issued the alleged fraudulent electronic wire
transmissions on a daily basis during the Relevant Period, including May 17, 2019, June 26,
2019, July 14, 2019, and March 13, 2020.”

As you can clearly see, the above-cited portions of the SAC provide very extensive and very
detailed allegations of “how or when Defendants themselves purportedly engaged in any of
[manipulation] activities.” Thus, your above representation was a willful and deliberate
falsehood that you perpetrated on the Court. This amounts to clear and deliberate fraud on Judge
Orrick.

As yet another example, on p. 6 of the Motion, you represent to Judge Orrick that “because
Plaintiffs have already had multiple opportunities “to state actionable claims and fix deficiencies
in their complaints” but have failed to do so, this Court should dismiss Plaintiffs’ case with
prejudice.” This representation is also blatantly false and constitutes willful and deliberate fraud
on the Court. In reality, two of the three Plaintiffs were added to this lawsuit for the first time in
the SAC. They did not get a chance to amend even once. Yet, you falsely represent to Judge
Orrick that "Plaintiffs have already had multiple opportunities “to state actionable claims and fix
deficiencies in their complaints.” Thus, your representation was a willful and deliberate fraud on
the Court.

Please let me know by noon on Wednesday, September 30, 2020, whether you agree to withdraw
your fraud-laced Motion.


                                                       Very truly yours,

                                                       CONSENSUS LAW


                                                       By:
                                                              Pavel I. Pogodin, Ph.D., Esq.
                                                              Principal
